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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT



LINDY ROBERT URSO                                   Case No: 20cv529 (KAD)
          Plaintiff,

v.
HIS EXCELLENCY,
GOVERNOR NED LAMONT                                 Date: May 20,2020
          Defendant.




                              FIRST AMENDED COMPLAINT

     1.         This action is brought in response to the ever-increasing encroachments

          by the defendant, Connecticut Governor Lamont, on the individual freedoms and

          liberties secured to Connecticut citizens by the United States and Connecticut

          Constitutions, by virtue of his series of Executive Orders issued in response to

          the Sars-CoV-2 outbreak in Connecticut.

     2.         In particular, this action is addressed to the Governor's Executive Orders

          requiring the wearing of masks, some of which have been issued and others

          which will presumably be forthcoming as the Governor issues further Orders

          easing or amending the effects of his current orders. Presently, Executive Order

          7V (Safe Workplace Rules); Executive Order 7bb (Masks in Public); and

          Executive Order 7PP (Sector Rules for Retail and Mall), purport to mandate the

          wearing of masks under various circumstances.

     3.           Executive Order 7V and the concomitant "Safe Workplace Rules" issued

          by the Commissioner of Economic and Community Development mandate, inter

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     alia, that "[e]ach employee shall be required to wear a mask or other cloth

     material that covers his or her mouth and nose while in the workplace, except to

     the extent an employee is using break time to eat or drink." (Exhibit B).

4.          Executive Order 788 provides, in pertinent, part that "any person in a

     public place in Connecticut who is unable to or does not maintain a safe social

     distance of approximately six feet from every other person shall cover their

     mouth and nose with a mask or cloth face-covering. In addition, individuals shall

     use a mask or cloth face covering when using the services of any taxi, car, livery,

     ride-sharing or similar service or means of mass public transit, or while within any

     semi-enclosed transit stop or waiting area." (Exhibit C).

5.          Executive Order 7PP and the concomitant "Sector Rules for Retail and

     Mall," (which supersede the "Safe Store Rules" referenced in EO 788) mandate

     in all retail establishments, inter alia, that "[c]ustomers are required to bring and

     wear masks or cloth face coverings that completely cover the nose and mouth,

     unless doing so would be contrary to his or her health or safety due to a medical

     condition." (Exhibit D, p. 7).

                                       PARTIES

6.          The plaintiff Lindy Robert Urso is and at all times relevant has been a

     resident and citizen of the State of Connecticut.

7.          The defendant,      His Excellency Edward       Miner "Ned"     Lamont, Jr.

     ("Governor Lamont") is and at all times relevant has been a resident of the State

     of Connecticut and currently holds the elected office of Governor of the State of

     Connecticut. He is sued in his official capacity.



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                                    JURISDICTION & VENUE

8.              This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331, 1343(a)(3) and

       1367(a), and 42 U.S.C. §§1983 and 1988.

9.              Venue is proper under 28 U.S.C. §1391 (b)(1 ).



                                    FACTUAL ALLEGATIONS

10.             On or about March 10, 2020, Governor Lamont caused to be filed with the

       Connecticut Secretary of State a "Declaration of Public Health and Civil

       Preparedness Emergencies," pursuant to C.G.S. §§ 19-131 a and 28-9. (Exhibit

       A).

11 .            Those two statutes delineate certain powers granted to the Governor in

       the event of such an emergency declaration, including the power to quarantine

       and/or isolate individuals known to have been exposed to a communicable

       disease.

12.             There is no language within those two (2) statutes authorizing the

       quarantining of healthy individuals.

13.             There is no evidence that the plaintiff has been exposed in any way to a

       communicable disease or that he is currently COVID-19 positive.

14.             There is no evidence that COVI D-19 is being spread in supermarkets,

       other retail outlets, business offices, or in public.     To the contrary, recent

       evidence shows that most people are contracting the virus inside the home.

       (Exhibit    E);   https:ljwww.medrxiv.org/content/1 0.11 01 /2020.04.04.20053058v1


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      (79.9%       of   outbreaks   occurred       in   homes);   see   also,   (Exhibit   F);

      https:Uwww.cbsnews.com/news/cuomo-coronavirus-patients-new-york-at-home-

      not-workinq/ (84% of new hospital admissions in NY were people who had been

      self-isolating in their homes- 66%- or in nursing homes- 18%).

15.          On information and belief, until the current CO VI D-19 epidemic, no state

      or federal authority has ever quarantined healthy individuals - other than those

      known to have had contact with an infected person - during an outbreak or

      pandemic in U.S. history.

16.          On information and belief, until the current COVI D-19 outbreak, no state or

      federal authority has ever purported to require citizens to wear restrictive masks

      over their mouths and noses in public.

17.          Beginning on March 12, 2020, the Governor issued the first of forty-three

      (43) Executive Orders, each created under the authority ostensibly granted him

      by C.G.S. §§19a-131b and 28-9.

18.         Three particular Executive Orders - 7V, along with its concomitant

      regulatory "Safe Workplace in Essential Business" rules; 7BB; and 7PP, along

      with its concomitant "Sector Rules for Retail and Mall" - purport to order that the

      plaintiff, and all other people, must carry and under various circumstances wear a

      mask or cloth covering of some kind covering their mouth and nose. (Exhibits B,

      C, and D).




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                                          The Outbreak

19.          There is, and has been, much fear being stirred amongst the public by

      both government and media sources about the dangers of COVID-19, the name

      being used for the effect of the current SARS-CoV-2 outbreak.

20.          The defendant himself has been at the epicenter of stirring up some of

      that fear in Connecticut. In particular, the defendant falsely claimed on March 16,

      2020 in a nationally televised interview that Danbury Hospital was "at capacity"

      and that "200 nurses from Danbury Hospital" were on furlough from having

      contact   with    Covid-19    infected    people.      https://www.msnbc.com/all-

      in/watch/conn-qov-200-nurses-furlouqhed-due-to-lack-of-coronavirus-testing-

      danburv-hospital-at-capacity-80736325731.      As it turned out, there were 200

      hospital employees - not just nurses - across 7 hospitals in New York and

      Connecticut in the Nuvance Health umbrella that were furloughed, and Danbury

      was not at capacity. (Exhibit G);

      https://www.myrecordjournal.com/News/State/200-health-care-workers-possibly-

      exposed-to-virus-stay-home.

21.          Two weeks later, on April 1, 2020, the defendant told the public via press

      conference that a ?-month old newborn child had died from COVID-19, causing

      panic amongst new and expectant mothers nationwide.           The defendant also

      posted on his Twitter account that "[t]esting confirmed last night that the newborn

      was COVID-19 positive. This is absolutely heartbreaking. We believe this is the

      one of the youngest lives lost anywhere due to complications relating to COVID-

      19." (Exhibit H). After questions arose about the actual cause of the infant's



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      death, the defendant backtracked from his claim that the death was caused by

      CO VI D-19.            https:ljwww. courant. com/breakinq-news/hc-br -infant -death-

      coronavi rus-positive-20200404-54z7 5ceqzfei7 ajtwskc4ncrua -story. htm I.

22.          Since the first recorded case of COVID-19 in the U.S. on or about January

      21, 2020, approximately 67,008 deaths have been attributed solely to the virus

      as of May 19, 2020, per a provisional tally done by the U.S. Centers for Disease

      Control ("CDC"). (Exhibit I);

      https://www.cdc.gov/nchs/nvss/vsrr/covid 19/index.htm?fbclid=lwAROgQt4-

      SX21 tDWjkPcxgl L83agWeH9n5tUoOH rJu5f5ahwqz1 kQQfYoaoo

23.          The number of Covid-19 deaths in the U.S. is almost surely artificially

      inflated, because our governments are counting every dead person who tests

      positive either pre or post-mortem as a "COVID-19 death," regardless of the

      actual cause of death. See, video of Dr. Deborah Birx, White House Coronavirus

      Response Coordinator, at Presidential Briefing on April 8, 2020:

      https://www.realclearpolitics.com/video/2020/04/08/dr birx unlike some countri

      es if someone dies with covid-19 we are counting that as a covid-

      19 death.html.

24.          Of the 54,861 deaths tabulated as of the week ending May 9, 2020 by the

      CDC, 80% occurred in people aged 65 and above, and more than 92% of deaths

      involved people 55 or older. (Exhibit J); https://data.cdc.gov/NCHS/Provisionai-

      COVI D-19-Death-Counts-by-Sex-Age-and-S/9bhg-hcku/data.

25.         As of May 19, 2020, Connecticut had reported to the CDC 564 deaths

      attributed solely to COVID-19. (See Exhibit 1).



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      https:ljwww.cdc.gov/nchs/nvss/vsrr/covid19/index.htm?fbclid=lwAROgQt4-

      SX21tDWjkPcxgiL83aqWeH9n5tUo0HrJu5f5ahwqz1 kQQfYoaoo.

26.          The defendant and his Department of Public health have been reporting

      much higher death numbers to the public than to the CDC. (Exhibit K);

      https ://www. ctpost. com/news/co ronavi rus/article/Data -70-of -CT -coronavi rus-

      linked-deaths-have-15271386.php. On information and belief, the discrepancy is

      due to the fact that the defendant and his agents are including "suspected" but

      unconfirmed deaths in the COVI D-19 numbers they are releasing to the public.

27.          Moreover, according to that May 14, 2020 Connecticut Post report, the

      vast majority of deaths from COVID-19 in Connecticut have occurred not among

      the public at large but, rather, in nursing homes. "Together, the [nursing home]

      deaths represent roughly 70 percent of the 3,125 COVID-19-related fatalities

      reported statewide as of Wednesday." (ld.)

28.          As of April 14, 2020, approximately 3.1 million people had been tested in

      the U.S. for Covid-19.        https:ljwww.nvtimes.com/2020/04/15/us/coronavirus-

      testing-trump.html.    Thus, less than 1% of the entire U.S. population of

      approximately      330      million,    had      been      tested     for     Covid-19.

      https://www.census.gov/popclock/.        Most experts and laypeople agree that, in

      light of the dearth of testing in the U.S., it is reasonable to infer that exponentially

      more people have contracted the virus than have been test-confirmed positive;

      ergo, the mortality rate of Covid-19 may be very low.          A recent study out of

      Stanford University is consistent with that conclusion. (Exhibit L);




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      https:ijsanfrancisco.cbslocal.com/2020/04/18/coronavirus-stanford-health-study-

      covid-cases-widespread-santa-clara-county/

29.          According to a March 26, 2020 editorial in the New England Journal of

      Medicine co-authored by Dr. Anthony Fauci - Director of the U.S. NIAID and

      leader of the U.S. Government's official medical response to this outbreak - "[i]f

      one assumes that the number of asymptomatic or minimally symptomatic cases

      is several times as high as the number of reported cases, the case fatality rate

      may be considerably less than 1%. This suggests that the overall clinical

      consequences of Covid-19 may ultimately be more akin to those of a severe

      seasonal influenza which has a case fatality rate of approximately 0.1 %." (Exhibit

      M);

      https://www.nejm.org/doi/full/1 0.1 056/NEJMe2002387?fbclid=lwAR308qtST5eF

      Hssmx4LEOwRBpfZcUIN-hJtxDZxOmW UKdG17o2tc2LcO



                                   "Flattening the Curve"

30.          The primary plan our state and federal authorities proposed to follow in

      combatting the outbreak was to ''flatten the curve." The idea, we were told by

      federal authorities, the defendant and his agents, and major media outlets, is that

      by instituting dramatic "mitigation" measures - like shuttering schools and

      businesses and focusing on social distancing - the "peak" of the viral outbreak's

      curve would be lowered such that our healthcare system was not overburdened

      to the point that infected people would die unnecessarily, as happened in

      countries like Italy.



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      https:ljwww.npr.org/sections/qoatsandsoda/2020/03/13/814602553/coronavirus-

      faqs-for-the-week-of-3-7-whats-flatteninq-the-curve-should-i-travel.

31.          Some countries around the world, such as Taiwan, Japan and Sweden,

      have opted against the severe social distancing measures and have not thus far

      seen dramatically different results.

      https://www.nationalreview.com/2020/04/coronavirus-response-sweden-avoids-

      isolation-economic-ruin/?fbclid= IwAR 1kn-

      OibwtchZGX5AI6YUN9GkmhUrYuEipPDLnwHZPsPLuHFUFNAnE8dzg.

32.          The defendant began severe curve-flattening social distancing measures

      in Connecticut with the first of his 43 "emergency" Executive Orders, E.O. #7, on

      March 12, 2020. Three and one-half weeks later, as of April 7, the rate of new

      COVID-19         hospitalizations       was      already    on       the        decline.

      https://www.courant.com/coronavirus/hc-news-coronavirus-updates-0407-

      20200407-47gpe33o5bcmfhwrcqxv2voru-story.html.             The CT Department of

      Public Health's April 13, 2020 update showed that, in the two weeks immediately

      prior, the Emergency Department hospitalization rate for people showing

      symptoms      consistent   with     CO VI D-19   was   plummeting.         (Exhibit   N);

      https://portal.ct.qov/-

      /media/Coronavirus/CTDPHCOVI D19summary4132020.pdf?la=en.

33.          Despite this dramatic decline in new emergency room hospitalizations, just

      five (5) days later the Defendant has ordered, via Executive Order 788, the

      wearing of masks or cloth face coverings in public.




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34.            Six weeks ago, on or about March 3, 2020, it was reported by CBS that

      the Centers for Disease Control (CDC)" does not recommend that people who

      are well wear a facemask to protect themselves from respiratory diseases,

      including CO VI D-19 ... " (Exhibit 0); https://www.cbsnews.com/news/coronavirus-

      prevention-face-mask-not-helpful-wash-hands/. Rather, experts were cautioning

      that "putting on a face mask without proper fitting and training could actually

      increase your risk." (ld.)

35.            According to that same March 3, 2020 CBS story, '"[i]f it's not fitted right,

      you're going to fumble with it,' explained Health and Human Services Secretary

      Alex Azar before a House Appropriations subcommittee on Wednesday. 'You're

      going to be touching your face, which is the No. 1 way you're going to get

      disease, is unclean hands touching your face."' {ld.)

36.            There is no scientific basis to suggest that the measures ordered in the

      defendant's "mask" Executive Orders will do anything to help stem the spread of

      the SARS-CoV-2 virus- and according to HHS Secretary Azar, it may well make

      the outbreak worse by causing the mask I cloth covering wearer to be infected.

      (I d.)

37.            Moreover, it appears that the one and only randomized, controlled study

      on the safety and efficacy of cloth masks in preventing infections was done in

      2015 and it found, inter alia, that the type of homemade cloth masks the plaintiff

      has been ordered to wear in public provide effective protection only 3% of the

      time. (Exhibit P); https:ljbmjopen.bmj.com/content/5/4/e006577.1onq.




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38.          There is also a recent article co-authored by Dr. Lisa Brosseau, a retired

      professor at University of Illinois, Chicago who is a national expert on respiratory

      protection, which suggested that "[s]weeping mask recommendations-as many

      have proposed-will not reduce SARS-CoV-2 transmission, as evidenced by the

      widespread practice of wearing such masks in Hubei province, China, before and

      during its mass COVID-19 transmission experience earlier this year. Our review

      of relevant studies indicates that cloth masks will be ineffective at preventing

      SARS-CoV-2 transmission, whether worn as source control or as PPE."          (Exhibit

      Q);   https:ijwww .cidrap. umn .edu/news-perspective/2020/04/commentarv-masks-

      all-covid-19-not-based-sound-data.

39.          Dr. Brosseau's recent conclusion about the ineffectiveness of surgical or

      cloth masks against COVID-19 is consistent with the results of a 2009 study she

      conducted, which is found on the CDC website, where she concluded that none

      of the non-N95 certified surgical masks tested "exhibited adequate filter

      performance and facial fit characteristics to be considered respiratory protection

      devices." (Exhibit R); https://www.cdc.gov/niosh/nioshtic-2/20033859.html.

40.          Moreover, there is evidence that wearing a protective device actually

      inhibits oxygen intake and increases ingestion of carbon dioxide.       (Exhibit S)

      https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4647822/. (In a study of pregnant

      health care workers, researchers stated: "Strikingly, wearing of the N95-mask

      during exercise resulted in lowering V02 by 13.8 % ... Similarly, VC02 was

      lowered by 17.7 % ... ")




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41.          There is no reason to believe that requiring healthy, uninfected people to

      wear surgical or cloth masks will do anything to prevent them from being infected

      with COVID-19 or prevent others from being so infected.

42.          It is highly questionable whether any new and additional mitigation

      measures need, or needed, to be instituted at all at this time, let alone the "mask"

      orders, especially in light of the declining emergency room hospitalizations as

      indicated by the April 13, 2020 Department of Public Health graph. (Exhibit T);

      https://portal.ct.gov/-

      /media/Coronavirus/CTDPHCOVID19summary4162020.pdf?la=en.                  But to the

      extent it is reasonable to continue and add mitigation measures after the "curve"

      has been flattened, the science indicates that there is no compelling, legitimate

      or rational reason for these restrictive airway-blocking measures, as they will

      have little or no positive effect- and could in fact harm the plaintiff and others.

43.          The damage to the plaintiff's individual freedoms, and even his health, that

      the mask requirements cause far outweighs any theoretical public benefit to

      compelling all citizens, healthy or not, to wear a mask or cloth facial covering.

                         COUNT ONE- VIOLATION OF THE
                CONSTITUTIONAL RIGHT TO EXPRESSION & ASSEMBLY

44.          Paragraphs 1-43 are incorporated herein.

45.          The plaintiff has a right to express himself freely, including the right to

      protest a perceived ''fear campaign" surrounding the SARS-CoV-2 outbreak.

46.          The plaintiff, by walking in public without wearing a mask or face covering

      of any kind, is and has been making a political statement in protest of the fear-

      mongering, exaggeration, misinformation and other perceived misdeeds by our

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      state and federal governments and our media in connection with this viral

      outbreak.

47.          The plaintiff likewise has a basic, natural right to meet and assemble with

      others in public spaces for any lawful purpose or activity.

48.          The plaintiff has a right to protest and otherwise air his complaints against

      the actions of the State of Connecticut, in public.

49.          The defendant lacks a compelling, legitimate, or rational reason to issue

      the subject "mask" Executive Orders.

50.          Each of the Governor's "mask" orders, including 788 which requires that

      the plaintiff cannot be in public within 6 feet of another person without wearing a

      mask or cloth mouth and nose covering violates his rights to due process,

      freedom of speech and assembly, and to petition his government, under the 15 \

      gth and 14th Amendments to the U.S. Constitution and Article 15 \ §§4, 5, and 14

      of the Connecticut Constitution.

                           COUNT TWO- VIOLATION OF THE
                        CONSTITUTIONAL RIGHT TO MOVE FREELY

51.          Paragraphs 1-50 are incorporated herein.

52.          The plaintiff has a basic right to travel freely on public lands.

53.          The plaintiff as a basic right to obtain food and medicine from retail

      establishments.

54.          The plaintiff has a basic and fundamental right to earn a living and,

      because of the defendant's mask orders, he is not being allowed to enter

      courthouses, where the plaintiff plies his profession, without wearing a mask of

      some sort over his nose and mouth.


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55.          The plaintiff has been denied entry to any drug store or grocery market to

      obtain necessary goods for the health and well-being of him and his family since

      the defendant's orders requiring that stores require customers to wear masks

      went into effect.

56.          The plaintiff has a basic right to access to life-sustaining food and

      medicines for himself and his children, and to earn a living in order to so provide.

57.          The Governor's orders restricting the plaintiff's movement unless he wears

      a restrictive mask is an unconstitutional infringement of his fundamental right to

      travel, to be healthy, to have access to life-sustaining food and medicine, to live,

      to earn a living, and to due process, in violation of the 5th, gth and 14th

      Amendments to the U.S. Constitution and Article 1st, §§8 and 10 of the

      Connecticut Constitution.

                      COUNT THREE- VIOLATION OF THE
            CONSTITUTIONAL RIGHT TO PERSONAL MEDICAL DECISIONS

58.          Paragraphs 1-57 are incorporated herein.

59.          Wearing a surgical mask or home fashioned cloth covering over his nose

      and mouth will restrict and interfere with the ability of the plaintiff to breathe in

      fresh air and to do so in a normal and healthy manner.

60.          There is empirical evidence that, during viral outbreaks and otherwise,

      people who have access to fresh air often fare better than those who do not. A

      recent submission to the Journal of Hospital Infection discussed the history of

      "open air" treatment of various diseases in the U.S. in the past. "[l]n the years

      before antibiotics became available, open-air therapy was the standard treatment

      for tuberculosis (TB) and other infectious diseases. Patients were nursed next to

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      open windows in cross-ventilated wards or put outside, in their beds, to breathe

      fresh outdoor air. This was believed to aid their recovery and reduce the risk of

      cross- and re-infection. The open-air regimen was also widely used on casualties

      during the First World War; and during the 1918-1919 influenza pandemic."

      (Exhibit U).

61.          The plaintiff believes that his access to fresh air will give him a better

      chance to both avoid infection from the virus and help his immune systems'

      ability to deal with the virus should he get infected, or should he be afflicted in

      any other way. This is particularly important in connection with COVID-19, as by

      all medical accounts this disease is inhibiting the body's ability to process

      oxygen.

62.          By following the defendant's subject mask orders, the plaintiff will be put in

      greater jeopardy of contracting CO VI D-19 by, inter alia, having to constantly

      bring his hands to his face to apply and remove a mask or cloth covering, than if

      he was not wearing one.

63.          The defendant's subject "mask" Executive Orders deprive the plaintiff of

      any ability to make his own medical decision at all, let alone with the long-

      standing medical principal of "informed consent."

64.          The defendant's "mask" Executive Orders are an unconstitutional

      infringement of the plaintiff's right to control over his own body, to make his own

      health decisions, to breathe freely, to remain healthy, and to due process, by

      restricting his access to fresh air, in violation of the 5th, 9th, and 14th Amendments




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       to the U.S Constitution, and Article 1st, §§8 and 10 of the Connecticut

       Constitution.

                             COUNT FOUR- VIOLATION OF THE
                            CONSTITUTIONAL RIGHT TO PRIVACY

65.           Paragraphs 1-64 above are incorporated herein.

66.           The plaintiff has a right to choose whether and what to wear upon his

       person generally, and especially over his life-giving airways.

67.           The plaintiff has a basic and natural right to breathe unabated and

       unencumbered by a mask of any kind.

68.           The defendant has no business being involved in such a personal and

       private and medical decision whether to wear a device that covers his entire nose

       and mouth.

69.           The Governor's Orders that the plaintiff must wear a mask in public, at

       work, and in retail establishments, are an unconstitutional infringement on these

       liberty and privacy interests in violation of the penumbra of rights enumerated in

       the Bill of Rights generally, and specifically of the 5th, 9th and 14th Amendments to

       the U.S. Constitution, and Article 1st,§§ 8 and 10 of the Connecticut Constitution.

                                  COUNT FIVE- 42 USC 1983

70.           Paragraphs 1-69 are incorporated herein.

71 .          At all times relevq.nt hereto, the defendant was acting under color of state

       law.

72.           The defendant's actions, pursuant to C.G.S. §§19a-131a, 28-9 and

       otherwise,   have violated    each    of the   plaintiff's aforementioned federal

       constitutional rights.


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         COUNT SIX- The Defendant Has No Authority to Issue Subject Orders
           and/or C.G.S. §28-9 is Unconstitutionally Vague and Overbroad

73.          Paragraphs 1-72 are incorporated herein.

74.          On information and belief, the defendant's subject Executive Orders were

      issued pursuant to the "catchall" provision of C.G.S. §28-9(b)(7), which provides

      that a governor may "take such other steps as are reasonably necessary in the

      light of the emergency to protect the health, safety and welfare of the people of

      the state, to prevent or minimize loss or destruction of property and to minimize

      the effects of hostile action."

75.          There is no other provision of the law which would conceivably grant the

      defendant the authority to issue the subject Executive Orders.

76.          The defendant's subject "mask" Executive Orders are not reasonably

      necessary to protect the health, safety and welfare of the people of the state ... "

77.          Ironically, the entire package of Executive Orders issued by the defendant

      thus far, from EO 7 to EO 7PP, not only do not "prevent or minimize loss or

      destruction of property ... ," which is a ground for emergency orders set forth in

      C.G.S. §28-9(b)(7), but they do essentially the opposite, as the orders that have

      caused the shuttering of businesses is causing immense loss and destruction of

      the State of Connecticut's, and Connecticut residents,' incomes and assets.

78.          The subject "mask" Executive Orders (and all of the aforementioned

      emergency Executive Orders) have been issued without legal authority, are ultra

      vires, and are beyond the scope of authority granted the defendant by the




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        legislature in C.G.S. §28-9(b), 19a-131 et seq., or elsewhere in the Connecticut

        General Statutes or the state Constitution.

  79.          As C.G.S. 19a-131 et seq. and §28-9(b) in general, and subsection (7)

        thereof in particular, are being applied to the plaintiff, they are unconstitutionally

        vague and overbroad and violate the right to due process, in violation of the 1st,

        5th, 9th, and 14th Amendments to the U.S. Constitution and Article 15 \ §§4, 5, 8,

        10 and 14 of the Connecticut Constitution.

  80.          "Those who would give up essential Liberty, to purchase a little temporary

        Safety, deserve neither Liberty nor Safety." Benjamin Franklin (11/11/1755).



                                            Prayer for Relief


WHEREFORE, the plaintiff seeks the following relief:


           A. A judgment declaring the "mask" portions of defendant's Executive

               Orders "N, 788 and 7PP unconstttutional and/or wtthout legal authority

               and therefore void.

           B. A judgment declaring C.G.S. §§ 19a-131 et seq. and 28-9, or portions

               thereof, unconstttutional and therefore void.

           C. An order enjoining permanently enforcement of the His

               Excellency the defendant's Executive Order 7V, 788 and 7PP.

           D. Costs.




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 E. Such other relief as this Court deems fair and equitable.

                                       Respectfully submitted,


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